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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

VIRGINIA INNOVATION SCIENCES, INC.,
           Plaintiff,
     v.                                            Civil Action No.4:18-cv-00474-ALM
                                                   Consolidated Lead Case
AMAZON.COM, INC., et al.
         Defendants.

INNOVATION SCIENCES, LLC,
          Plaintiff,
     v.                                            Civil Action No.4:18-cv-00475-ALM
                                                   Member Case
RESIDEO TECHNOLOGIES, INC.,
          Defendant.

INNOVATION SCIENCES, LLC,
          Plaintiff,
     v.                                            Civil Action No.4:18-cv-00476-ALM
                                                   Member Case
HTC CORPORATION,
          Defendant.

INNOVATION SCIENCES, LLC,
          Plaintiff,
     v.                                            Civil Action No.4:18-cv-00477-ALM
                                                   Member Case
VECTOR SECURITY, INC.,
          Defendant.


       JOINT CLAIM CONSTRUCTION STATEMENT PURSUANT TO P.R. 4-3

       Pursuant to P.R. 4-3 and the Court’s Amended Scheduling Order, Plaintiff Innovation

Sciences, LLC (f/k/a Virginia Innovation Sciences, Inc. (“Innovation”) and Defendants

Amazon.com, Inc., Amazon Digital Services, LLC, and Amazon Web Services, Inc.,

(collectively, “Amazon”), Resideo Technologies, Inc. (“Resideo”), HTC Corporation (“HTC”),

Vector Security, Inc. (“Vector”) (collectively, “Defendants”) hereby submit the Parties’ Joint

Claim Construction Statement.


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    I.    P.R. 4-3(a) Agreed Claim Construction

         The parties have not agreed to any constructions for U.S. Patent No. 9,912,983 (“the ‘983

Patent”); 9,729,918 (“the ‘918 Patent”); 9,942,798 (“the ‘798 Patent”); and 9,723,443 (“the ‘443

Patent”) (collectively, the “Patents-In-Suit”). However, the parties have met and conferred as

required by P.R. 4-2(c) and have reduced the number of terms for which they seek construction

in an effort to streamline the claim construction proceedings. The parties will continue to discuss

possible agreed constructions.

   II.    P.R. 4-3(b) Disputed Claim Construction

         Pursuant to P.R. 4-3(b), the chart attached as Exhibit 1 to this Joint Statement contains

disputed patent claim terms, phrases, or clauses for which the parties propose different

constructions.

         Exhibit 2 provides Plaintiff’s identification of extrinsic and intrinsic evidence

supporting its proposed constructions, as required by P.R. 4-3(b). In addition to the intrinsic

and extrinsic evidence identified in Exhibit 2, Innovation also identifies the prosecution

histories of the patents in suit and related patents and applications as additional intrinsic

evidence.

         Exhibit 3 provides Defendants’ identification of extrinsic and intrinsic evidence

supporting their proposed constructions, as required by P.R. 4-3(b). In addition to the extrinsic

evidence identified in Exhibit 3, Defendants may rely on excerpts of depositions—in this and

prior cases—of the following individuals: Tiejun (a.k.a. Ronald) Wang, Tiehong Wang (a.k.a.

Ann Wang, Anne Wong), and William Halal.

         The parties rely on the intrinsic evidence as a whole relating to the asserted patents.

Each side reserves the right to rely on any intrinsic or extrinsic evidence identified by the other




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side and any evidence that may be obtained through claim construction discovery. The parties’

proposed claim constructions are subject to change as claim construction discovery progresses

and the parties brief the issues. Each party reserves the right to supplement or amend its

supporting evidence based on newly identified evidence.

  II.     P.R. 4-3(c) Length of Claim Construction Hearing

         Plaintiff’s Position:

         Pursuant to P.R. 4-3(c), Innovation requests three hours total, one-and-a-half hours per

side, for the claim construction hearing.

         Defendants’ Position:

         At this time, Defendants anticipate that the Claim Construction Hearing will require at

least 5 hours, with each side being allotted 2.5 hours. Plaintiff currently asserts more than 200

patent claims in this case. The time required for the Claim Construction Hearing may change

depending on the disputed terms that remain after Plaintiff reduces its asserted claims pursuant to

the Court’s Model Order Focusing Patent Claims and Prior Art to Reduce Costs, which it must

do no later than May 16, 2019.

  III.    P.R. 4-3(d) Live Witness Testimony at Claim Construction Hearing

         Innovation may have its expert, Mr. Joseph C. McAlexander, III, provide a declaration or

testimony at the claim construction hearing addressing the following subjects:              (i) that

Innovation’s proposed constructions are consistent with the understanding that one of ordinary

skill in the art would have had of the disputed claim term in light of the intrinsic and extrinsic

evidence; (ii) whether certain claim terms as set forth in Exhibit 1 inform, with reasonable

certainty, those skilled in the art about the scope of the invention, describe sufficiently definite

structure; and (iii) how one skilled in the art would understand the disclosure in the patents, the




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state of prior art, plain and ordinary meanings of claim terms, and the level of one skilled in the

art. By identifying Mr. McAlexander herein, Innovation does not waive any rights and is not

precluded from relying on another expert with similar qualifications who may provide a

declaration or testimony addressing these issues.

         An expert, Dr. David B. Johnson, may provide a declaration or testimony at the Markman

hearing addressing the following subjects: (i) whether the proposed constructions are consistent

with the understanding that one of ordinary skill in the art would have had of the disputed claim

term in light of the intrinsic and extrinsic evidence; (ii) whether certain claim terms as set forth

in Exhibit 1 fail to inform, with reasonable certainty, those skilled in the art about the scope of

the invention, fail to provide sufficient structure, or are purely functional; and (iii) how one

skilled in the art would understand the disclosure in the patents, the state of prior art, plain and

ordinary meanings of claim terms, and the level of one skilled in the art. By identifying Dr.

Johnson herein, no Defendant waives any rights to, nor should they be precluded from relying on

another expert with similar qualifications who may provide a declaration or testimony addressing

these issues.

   IV.    P.R. 4-3(e) Other Issues

          The parties are aware of no other outstanding issues that need to be taken up with the

Court at a prehearing conference.

    V.    Estimated Pages Needed to Brief Disputed Claim Terms

         At this time, the parties anticipate requiring at least 60 pages for opening and responsive

claim construction briefs and at least 30 pages for the reply claim construction brief.




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Date: May 6, 2019                         Respectfully submitted:

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                                CERTIFICATE OF SERVICE

       I hereby certify that all counsel of record who are deemed to have consented to electronic

service are being served with a copy of this document via email.


DATED: May 6, 2019                                  /s/ Donald L. Jackson
                                                    Donald L. Jackson




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